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lN THE UNITED STATES DISTRICT COURW%’€
FOR THE WESTERN DISTRICT OF TENNESSEE

  

EASTERN DIVISION
RAYMOND ANDREW CLARK, )
)
Plaintiff, )
)
)
VS. ) No. 04-1174-T/An
)
)
CHARLES TRAUGHBER, ET AL., )
)
Defendants. )

 

ORDER GRANTING MOTION TO WITHDRAW DEFAULT JUDGMENT
AND
DENYING MOTION FOR DEFAULT JUDGl\/IENT AS MOOT

 

On May 16, 200 5, the Court entered an order directing the defendants to respond to
the complaint and to plaintiff s motion for summary judgment Within twenty days. ()n June
6, 20005, defendants filed a response to the summary judgment motion and a motion to
dismiss, thereby complying With the Court’s order.

On June l(), 2005, the Clerk of Court received and filed plaintiffs Request for Entry
of Default and Motion for Default Judgment. As the defendants’ motion to dismiss Was
pending, the Clerk did not enter default. On June 22, 2005, the plaintiff filed a motion

asking that his motion for default judgment be Withdrawn.

ThIs document entered on the docket sheet ln com llance
with nuts 58 and,-'or_?s (a) FRCP on ’7

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Plaintift`s motion to withdraw his motion for default judgment is GRANTED.
Consequently, the motion for default judgment is DENIED as moot.

lT lS SO ORDERED.

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JAl\/l D. TODD
UNI D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CV-01174 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

